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 1    SO. CAL. EQUAL ACCESS GROUP
      Jason J. Kim (SBN 190246)
 2    Jason Yoon (SBN 306137)
 3
      101 S. Western Ave., Second Floor
      Los Angeles, CA 90004
 4    Telephone: (213) 252-8008
      Facsimile: (213) 252-8009
 5    scalequalaccess@yahoo.com
 6    Attorneys for Plaintiff
      KEVIN COX
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      KEVIN COX,                                        Case No.: 2:21-cv-02135 MCS (AGRx)
11
12                 Plaintiff,
                                                        NOTICE OF VOLUNTARY
13          vs.                                         DISMISSAL OF ENTIRE ACTION
                                                        WITH PREJUDICE
14
      EL PAISSA MEXICAN GRILL, INC.;
15    VICTOR RODRIGUEZ; and DOES 1 to
16    10,

17
                   Defendants.
18
19
20          PLEASE TAKE NOTICE that KEVIN COX

21
       (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby

22    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil

23    Procedure Rule 41(a)(1) which provides in relevant part:
24          (a) Voluntary Dismissal.
25                 (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26                        and any applicable federal statute, the plaintiff may dismiss an action
27                        without a court order by filing:
28


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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:21-cv-02135-MCS-AGR Document 14 Filed 06/10/21 Page 2 of 2 Page ID #:58




 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: June 10, 2021           SO. CAL. EQUAL ACCESS GROUP
 8
 9                                   By:      /s/ Jason J. Kim
10                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
